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                          UNITED STATES DISTRICT COURT
                          EASTERN DISTRICT OF MICHIGAN
                               SOUTHERN DIVISION

UNITED STATES OF AMERICA,

       Plaintiff,

v.                                                      Case No. 06-20663

D-10, DEXTER HUSSEY,                                    HONORABLE AVERN COHN

     Defendant .
___________________________________/


             ORDER DENYING MOTION FOR INTERIM ATTORNEY FEES


       Karen J. Davis Roberts, former attorney for Defendant Dexter Hussey has filed a

Motion For Interim Fees. The Criminal Justice Act does not authorize payment of interim

fees in the circumstances of Ms. Roberts’ representation of Mr. Hussey.

       The motion is DENIED.



Dated: April 3, 2009                       s/Avern Cohn
                                          AVERN COHN
                                          UNITED STATES DISTRICT JUDGE



I hereby certify that a copy of the foregoing document was mailed to the attorneys of record
on this date, April 3, 2009, by electronic and/or ordinary mail.


                                           s/Julie Owens
                                          Case Manager, (313) 234-5160
